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JUDGE: l\/lary Jo Heston

CHAPTER: 7

HEARlNG LOCATlONS: TACOl\/IA
HEARING DATE: JULY l9, 2018
HEARING TIME: 9:00 A.M.
RESPONSE DATE: JULY 12, 2018

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON

Dolce Si, LLC ) Bankruptcy Case No. 18-41191-MJH
)
) Chapter 7
)
) Motion for Relief from Stay
Debtor. )
ln re:

Elisabetta Rosalinda O’Shea,
and Steven Patrick O’Shea,

Debtor.

)

) Bankruptcy Case No. 18-41204-1\/1] H
)

) Chapter 7
)

)

l\/lotion for Relief from Stay

MOTION FOR RELIEF FROM STAY AND BRIEF IN SUPPORT

Movant Point Ruston Apartments, LLC, by and through undersigned counsel, pursuant

to ll U.S.C. § 362(d) and Bankruptcy Rule 4001, requests an order conditioning, modifying, or

dissolving the automatic stay imposed by ll U.S.C. § 362 of the Bankruptcy Code. l\/lovant prays

for an Order from the Court granting Movant relief from the automatic stay and to allow it to

foreclose on its statutory landlord’s lien under state law and procedures and to re-lease the premises

covered by the Dolce Si lease to new tenants. Movant seeks any further relief to which the l\/Iovant

may be entitled.

MOTION TO LIFT STAY Law Offices of Jack B. Krona Jr,

5219 N. Shirley St. #100
Ruston, WA 984()7
(253) 341-9331

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l.

The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157 and 1334. This is
a core proceeding under 28 U.S.C. § l57(b)(2). The venue of this case is proper and this Motion
is proper under 28 U.S.C. § 1408 and 1409.

II.

Movant is the holder of a landlord’s lien, more particularly described in paragraph IV,

below, and has standing to bring this motion because of its status as a secured creditor.
lll.

On April 4, 2018, Dolce Si, LLC (“Dolce Si”) filed a petition for relief under Chapter 7 of
the Bankruptcy Code. Movant is a secured creditor. Mark Waldron has been appointed Trustee.
On June 6, 2018, Waldron indicated his intent to abandon the property subject to the Movant’s
landlord lien. (June 6, 2018, “Ch. 7 Trustee Report of No Distribution,” ECF Docket Entry, Case
No. 18-41 l9l-MJH.)

IV.

Effective May 7, 2015, Dolce Si entered a “Mixed-Use Center Lease Agreement” with
Point Ruston Apartments, LLC (“l\/lovant” or “PRA”). Elisabetta Rosalinda O’Shea is a lease
guarantor and manager and member of Dolce Si, who also concurrently flled an individual
Chapter 7 Bankruptcy along with her Husband, Steven Patrick O’Shea. Dolce Si used the premises
to operate the Dolce Si Bakery at 5005 Main St., Suite 105, Tacoma, WA 98407, a copy of which
is attached to the Declaration of Steven Willock in support of this motion as Exhibit A. Dolce Si
vacated the property and repudiated the lease before filing for bankruptcy. Dolce Si owes Movant
for more than two months in unpaid rent. RCW 60.72.01() grants Movant a statutory lien for such
rent upon personal property which has been used or kept on the rented property by the tenant, and

such liens for rent “shall be paramount to, and have preference over, all other liens except for liens

MOTION TO LIFT STAY Law Offices of Jack B. Krona Jr.
5219 N. Shirley St. #l()O
Ruston, WA 98407
(253) 341-9331

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for taxes, general and special liens of labor, and liens of mortgages duly recorded prior to the
tenancy.” The two-month past-due rent amount is $13,774.28.
V.

The landlord’s lien granted by RCW 60.72.010 to secure two-months of rent attaches to
the property specifically listed in the Appraisal Report of Joshua Pearce, a copy of which is
attached to the Willock Declaration as Exhibit B, as well as any other personal property left on the
premises

VI.

The landlord’s lien attaches to the property and was perfected by operation of law without

the necessity of a writing or recording. See RCW 60.72.0]0.
VII.

The total value of the property subject to the lien is estimated at $l4,07().20. The valuation
method Bargreens used in the attached report was lO% of new value, which is based upon its
current location. Any buyer would need to move the equipment, and much of the equipment is
hard-wired. So, the buyer would also need to hire and pay an electrician before they could remove
the equipment Factoring moving costs, the costs of an electrician, and considering that Movant
has been storing the equipment for several weeks now, a more reasonable value for the equipment
is closer to 5% of new value. Also, the appraisal included items which are clearly fixtures and
were never intended to be the tenant’s property after lease termination/expiration These include
the sinks, counter-tops, hood, and walk-in cooler. (Willock Declaration.)

Overall, to document the actual value of the equipment, Movant has prepared a
spreadsheet, a copy of which is attached to the Willock Declaration as Exhibit C. The spreadsheet
omits the fixtures noted above and identifies the equipment value based upon the 5% valuation
method. The total value for all such equipment is estimated to be $ 14,070.20, which approximates

the value of movants landlord’s lien and does not include the costs associated with asserting this

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5219 N. Shirley St. #100
Ruston, WA 98407
(253) 341-9331

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lien for moving for relief from the stay. The Movant seeks to foreclose on its landlord’s lien under
state law and procedures, and will liquidate the value of the property subject to the lien through a
sale authorized by state law and procedure.

Although the property at issue belonged to Dolce Si, Movant concurrently filed this motion
in both the Dolce Si and the O’Shea’s bankruptcy proceeding As demonstrated by the signature
of Dolce Si’s counsel, who also represents Elisabetta Rosalinda O’Shea and Steven Patrick O’Shea
in their concurrently filed individual bankruptcy, who are collectively referred to herein as the
“Debtors,” the Debtors stipulate that the two-months past-due Rent amount is 813,774.28 and that
the liquidation value of the equipment as estimated by the Movant ($l4,070.20) is a fair and
reasonable valuation. The Debtors stipulate that the Movant’s motion to lift stay to foreclose its
landlord lien should be granted. The Debtors stipulate that the Movant has a valid landlords’ lien
on any equipment (and anything else, including personal property) remaining on the premises and
that the value of the lien exceeds any claim the Debtors might otherwise have to the remainder of
the proceeds of the lien after the lien is liquidated, through a sale or otherwise, and that they have
no equity in any equipment (and anything else, including personal property) remaining on the
premises The Debtors also stipulate that the Dolce Si lease was terminated before the Dolce Si
and the personal bankruptcies were filed.

VIII.

Under the terms of the commercial lease, the Dolce Si was required to pay monthly rent.
As of the date of the filing of the Petition, the Dolce Si was in default under the lease and failed to
pay the monthly rent as required. Dolce Si has applied all monthly payments it received to the
total amount due. As of June 28, 2018, there is currently due and owing 011 the lease the
outstanding principal balance of 8156,743.01 in rent, utility charges and late fees. This amount

does not include interest. Other obligations may be due.

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5219 N. Shirley St. #lOO
RuStOn, WA 98407
(253) 341-9331

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IV.

Other parties known to potentially have an interest in property subject to the Landlord’s
lien are Kabbage, Inc., 925B Peachtree St. NE #1688, Atlanta, GA 30309. All interested parties
are being served with a copy of this motion.

X.

Movant is entitled to relief from the automatic stay pursuant to 11 U.S.C. §§ 362(d)(1)
and 362(d)(2) because Dolce Si has no equity in the property subject to the lien and the property
is not necessary to effectuate any plan of reorganization Also, the Trustee has indicated an intent
to abandon the property of the Dolce Si and the Debtors stipulate that the relief requested herein
should be granted.

XI.

Movant attaches a Declaration in suppolt of this motion as Exhibit 1, and a Proposed Order
as Exhibit 2.

PRAYER FOR RELIEF

Movant prays for an Order from the Court granting Movant relief from the automatic stay
and to allow it to foreclose on its statutory landlord’s lien under state law and procedures and to
re-lease the premises to new tenants. Movant further requests that the 14-day stay period provided
by F ederal Rules of Bankruptcy Procedure Rule 4001(a)(3) be waived. Movant seeks any further
relief to which the Movant may be entitled.

DATED this 28th day of June 2018.

Law Offices of Jack B. Krona, Jr., Esq.

By /S/
lack B. Krona Jr., Esq.
WSBA# 42484

MOTION TO LIFT STAY Law Offices of Jack B. Krona Jr.
5219 N. Shirley St. #100
Ruston, WA 98407
(253) 341-9331

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Stipulated and Agreed By:

/s/

Brett Wittner

Morton McGoldrick, P.S.

Counsel for Dolce Si, LLC, Elisabetta Rosalinda
O’Shea and Steven Patrick O’Shea

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5219 N. Shirley St. #100
Ruston, WA 98407
(253) 341-9331

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CERTIFICATE OF SERVICE

On this 28th day of June 2018, I hereby certify under penalty of perjury that I served the
above document on the parties listed in the attached Creditors Matrix as of June 28, 2018:

Law Offices of Jack B. Krona, Jr., Esq.

By /S/
Jack B. Krona Jr., Esq.

WSBA# 42484

MOTION TO LIFT STAY Law Offices of Jack B. Krona Jr.
5219 N. Shirley St. #100
Ruston, WA 98407
(253) 341-9331

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Label Matrix for local noticing
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Case 18-41204-MJH

Western District of washington
Tacoma

Thu Jun 28 13:25:59 PDT 2018

U.S. Bankruptcy Court
1717 Pacific Avenue
Suite 2100

Tacoma, WA 98402-3233

Bank of America
PO Box 851001
Dallas, TX 75285-1001

Muckleshoot Casino
6370 Auburn Way S.
Auburn, WA 98002

Point Ruston

c/o Rainier Property Services
5219 N. Shirley St.

Tacoma, WA 98407-6599

(p)WA STATE DEPT OF LABOR & INDUSTRIES
BANKRUPTCY UNIT

PO BOX 44171

OLYMPIA WA 98504-4171

United States Trustee
700 Stewart St Ste 5103
Seattle, WA 98101-4438

Elisabetta Rosalinda O'Shea
3216 N. Stevens St.
Tacoma, WA 98407-4741

Santander Consumer USA Inc.

c/o Stewart, Zlimen & Jungers, Ltd.

2860 Patton Road
Roseville, MN 55113-1100

American Express
PO Box 981535
El Paso, TX 79998-1535

Dolce Si, LLC
3216 N. Stevens St.
Tacoma, WA 98407-4741

NASA Federal Credit Union
P0 Box 1910
Bowie, MD 20717-1910

Point Ruston Apartments, LI£
5219 N. Shirley St.
Tacoma, WA 98407-6599

State of Washington
Employment Security Department
PO Box 9046

Olympia, WA 98507-9046

(p)VOLKSWAGEN CREDIT UNION
1401 FRANKLIN BLVD
LIBERTYVILLE IL 60049-4460

Mark D Waldron

6711 Regents Blvd W
Suite B

Tacoma, WA 98466-5421

V'W CREDIT, INC.
14841 Dallas Parkway, Suite 300
Dallas, TX 75254-7883

American Express National Bank
c/o Becket and Lee LLP

PO Box 3001

Malvern PA19355-0701

IRS
PO Box 7346
Philadelphia, PA 19101-7346

Navy Federal Credit Union
PO Box 3500
Merrifield, VA 22119-3500

Santander Consumet USA
PO Box 961245
Terrell, TX 75161

USAA Bank
9800 Fredericksburg Rd.
San Antonio, Tx 78288-0002

Brett L Wittner

Morton McGoldrick, P.S.
820 A Street

Suite 600

Tacoma, WA 98402-5293

Steven Patrick O'Shea
3216 N. Stevens St.
Tacoma, WA 98407-4741

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4) .

State of Washington
Department of L&I
PO Box 44171
Olympia, WA 98504

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(d)State of Washington
Department of Revenue
P0 Box 44171

Olympia, WA 98504

Volkswagen Credit
PO Box 3
Hillsboro, OR 97123-0003

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End of Label Matrix

Mailable recipients 23
Bypassed recipients 0
Total 23

Case 18-41204-|\/|JH DOC 15 Filed 06/28/18 Ent. 06/28/18 16239:53 PQ. 9 Of 10

Label Matrix for local noticing
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Case 18-41191-MJI-l

Western District of Washington
Tacoma

Thu Jun 20 13:26:49 PDT 2018

Comcast
PO Box 34744
Seattle, WA 98124-1744

Kabbage, Inc.
9258 Peachtree St. NE #1688
Atlanta, GA 30309-3918

Point Ruston

c/o Rainier Property Services
5219 N. Shirley St.

Tacoma, WA 98407-6599

State of Washington
Employment Security Department
PO Box 9046

Olympia, WA 98507-9046

United States Trustee
700 Stewart St Ste 5103
Seattle, WA 98101-4438

Dolce Si, LLC
3216 N. Stevens St.
Tacoma, WA 98407-4741

Elavon
7300 Chapman Hwy
Knoxville, TN 37920-6612

Liberty Distributing
909 Valley Ave. NW
Puyallup, WA 98371-2517

Point Ruston Apartments, LLC
5219 N. Shirley St.
Tacoma, WA 98407-6599

Steve and Elisabetta O'Shea
3216 N. Stevens St.
Tacoma, WA 98407-4741

Brett L Wittner

Morton McGoldrick, P.S.
820 A Street

Suite 600

Tacoma, WA 98402-5293

U.S. Bankruptcy Court
1717 Pacific Avenue
Suite 2100

Tacoma, WA 90402-3233

IRS
PO Box 7346
Philadelphia, PA 19101-7346

Navy Federal Credit Union
PO Box 3500
Merrifield, VA 22119-3500

(p)WA STATE DEPT OF LABOR & INDUSTRIES
BANKRUPTCY UNIT

PO BOX 44171

OLYMPIA WA 98504-4171

Tacoma Public Utilities
3628 S. 35th St.
Tacoma, WA 98409-3192

Mark D Waldron

6711 Regents Blvd W
Suite B

Tacoma, WA 98466-5421

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

State of Washington
Department of L&I
PO Box 44171
Olycnpia, WA 98504

CaS€ 18-41204-|\/|.]H

(d)State of Washington
Department of Revenue
PO Box 44171

Olympia, WA 98504

End of Label Matrix

Mailable recipients 17
Bypassed recipients 0
Total 17

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